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AO 245B       (Rev. 09/I1) Judgment in a Criminal Case
vi            Sheet I



                                             UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF ALABAMA

             UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                   V.                                              (WO)

                       JILL HAWTHORNE                                             Case Number: 2:12cr21 1-MEF-02
                                                                          )       USM Number: 14251-002

                                                                          )       Raymond Lewis Jackson,Jr,­­
                                                                                  Defendant's Attorney
THE DEFENDANT:
  'pleaded guilty to count(s)           Is of the Felony Information on 2/14/13
E pleaded nolo contendere to count(s)
  which was accepted by the court.
E was found guilty on count(s)
  after a plea of not guilty.            -

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended               Count

 181030(a)(2)(C) and                Fraud and Related Activities in Connection with Computers               2/14/2013                   is
 (c)(2)(B)(ii) and 182




   Sec additional Count(s) on page 2

      The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
E The defendant has been found not guilty on count(s)

   Count(s) 1 of the Indictment                              isEl are dismissed on the motion of the United States.

         It is ordered that the defendant mist notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this jud gment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                         6/14/2013
                                                                          Date of Imposition of Judgment




                                                                         Signature of Judge

                                                                         Mark E. Fuller, United States District Judge
                                                                         Name of Judge                                Title of Judge



                                                                         Date
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AO 245B            (Rev. 09/11) Judgment in a Criminal Case
vi                Sheet 4—Probation

                                                                                                                             Judgment Page: 2 of 5
     DEFENDANT: JILL HAWTHORNE
     CASE NUMBER: 2:12cr21 1-MEF-02
                                                                     PROBATION
     The defendant is hereby sentenced to probation for a term of:

      One Year




     The defendant shall not commit another federal, state or local crime.
     The defendant shall not unlawfully possess a controlled substance. The defedant shall refrain from any unlawful use of a controlled
     substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
     thereafter, as determined by the court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, fapplicable)
            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

            The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
            as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
            works, is a student, or was convicted of a qualifying offense. (Check, if applicable)
     El The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
            If this judgment imposes a fine or restitution, it is a conditbn of probation that thedefendant pay in accordance with the Schedule of
     Payments sheet of this judgment.
               The defendant trust comply with the standard conditions that have been adopted bythis court as well as with any additional conditions
     on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
       1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)    the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
       6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
             substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probation officer;
      10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;
      11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
             permission of the court; and
     13)     as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
             record or ?ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             defendant's compliance with such notification requirement.all refrain from
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vl          Sheet 4A - Probation

                                                                                                      Judgment Page: 3 of 5
 DEFENDANT: JILL HAWTHORNE
 CASE NUMBER: 2:12cr21 1-MEF-02

                                                ADDITIONAL PROBATION TERMS
  1) The defendant shall provide the probation officer any requested financial information.

  2) The defendant shall not incur new credit charges or open additional lines of credit without approval of the Court unless
  in compliance with the payment schedule,
                      Case 2:12-cr-00211-MEF-WC Document 78 Filed 06/24/13 Page 4 of 5

AO 245B          (Rev. 09/11) Judgment in a Criminal Case
vi               Sheet 5 - Criminal Monetary Penalties

                                                                                                                        Judgment Page: 4 of 5
     DEFENDANT: JILL HAWTHORNE
     CASE NUMBER: 2:12cr21 1-ME F-02
                                                    CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                          Assessment                                       Fine                               Restitution
 TOTALS                $ 100.00                                          $ 3,000.00                         $ 0.00


     E The determination of restitution is deferred until                    . An Amended Judgment in a Criminal Case (AO 245C) will be entered
         after such determination.

     LI The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
         before the United States is paid.

 Name of Payee                                                          Total Loss*              Restitution Ordered Priority or Percentage




TOTALS                                                                                  $0.00                   $0.00


 LII Restitution amount ordered pursuant to plea agreement $

LI The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

              the interest requirement is waived for the         W fine LI restitution.
         LI the interest requirement for the           LI fine     LI restitution is modified as follows:



* Findings for the total anDunt of losses are required under Charters 109A, 110, 1 bA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B       (Rev. 09/11) Judgment in a Criminal Case
vi           Sheet 6— Schedule of Payments
                                                                                                                      Judgment Page: 5 of 5
 DEFENDANT: JILL HAWTHORNE
 CASE NUMBER: 2:12cr21 1-MEF-02

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         Lump sum payment of$ 3,100.00                       due immediately, balance due

                 not later than                                    , or
            ( in accordance                    C,         D,   E     E, or    'F below; or

 B F Payment to begin immediately (may be combined with                      C,          D, or        F below); or

 C    E Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                    (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D    E Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                       (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
         term of supervision; or

 E    F Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F         Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101. Any balance of the fine remaining at the start of probation supervision, which
            begins immediately, is to be paid at a rate of not less than $500.00 per month.



 Unless the court has expressly ordered otherwise, if thisjudgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 El Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 E The defendant shall pay the cost of prosecution.

 El The defendant shall pay the following court cost(s):

 LI The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
